Case 1:19-cr-00127-LMB Document 26 Filed 06/04/19 Page 1 of 1 PageID# 130




                 IN THE UNITED STATES DISTRICT COURT
                   THE EASTERN DISTRICT OF VIRGINIA

                                  Alexandria Division

UNITED STATES OF AMERICA
                                               No. l:19-cr-127
       V.



LOURDES TERRAZAS SILES,
      Defendant.




                                       ORDER


      Upon consideration of the Consent Motion to Continue Motions Hearing, and

for good cause shown, it is hereby:

      ORDERED that said Motion is GRANTED, and the motions hearing shall be

continued to July 5, 2019 at 11:00 a.m.; and it is

      FURTHER ORDERED that, if needed, a status conference will follow

immediately after the motions hearing; and it is

      FURTHER ORDERED that the Clerk's Office shall forward a copy of this

Order to all counsel of record.




Date: June ^ . 2019                                                ^^
                                                     Leonie M. Biinkema
                                                     United States District Judge
